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 9   UNITED STATES OF AMERICA

10                            UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. 2:21-CR-00203-ODW

13              Plaintiff,                    [PROPOSED] ORDER CONTINUING TRIAL
                                              DATE AND FINDINGS REGARDING
14                    v.                      EXCLUDABLE TIME PERIODS PURSUANT
                                              TO SPEEDY TRIAL ACT
15   ABDULRAHMAN IMRAAN JUMA,
       aka “Abdul,”                           [PROPOSED] TRIAL DATE: [05-17-22]
16     aka “Rahman,”
     KELLY CHIBUZO VINCENT,
17     aka “Vincent Kelly Chibuzo,”
     ABBA ALHAJI KYARI,
18   RUKAYAT MOTUNRAYA FASHOLA,
       aka “Morayo,”
19   BOLATITO TAWAKALITU AGBABIAKA,
       aka “Bolamide,”
20   YUSUF ADEKINKA ANIFOWOSHE,
       aka “AJ,”
21     aka “Alvin Johnson,”

22              Defendants.

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24         The Court has read and considered the Stipulation Regarding
25   Request for (1) Continuance of Trial Date and (2) Findings of
26   Excludable Time Periods Pursuant to Speedy Trial Act, filed by the
27   parties in this matter on September 24, 2021.          The Court hereby finds
28   that the Stipulation, which this Court incorporates by reference into
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 1   this Order, demonstrates facts that support a continuance of the

 2   trial date in this matter, and provides good cause for a finding of

 3   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.

 4         The Court further finds that:       (i) the ends of justice served by

 5   the continuance outweigh the best interest of the public and

 6   defendant in a speedy trial; (ii) failure to grant the continuance

 7   would be likely to make a continuation of the proceeding impossible,

 8   or result in a miscarriage of justice; and (iii) failure to grant the

 9   continuance would unreasonably deny defendant continuity of counsel

10   and would deny defense counsel the reasonable time necessary for

11   effective preparation, taking into account the exercise of due

12   diligence.

13         THEREFORE, FOR GOOD CAUSE SHOWN:

14         1.     The trial in this matter is continued from October 12, 2021

15   to May 17, 2022.

16         2.     The time period of October 12, 2021 to May 17, 2022,

17   inclusive, is excluded in computing the time within which the trial

18   must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i),

19   and (B)(iv).

20         3.     Defendants shall appear in Courtroom 5D of the Federal

21   Courthouse, 350 W. 1st Street, Los Angeles, California on May 17,

22   2022 at 9:00 a.m.

23         4.     Nothing in this Order shall preclude a finding that other

24   provisions of the Speedy Trial Act dictate that additional time

25   periods are excluded from the period within which trial must

26   commence.    Moreover, the same provisions and/or other provisions of

27   the Speedy Trial Act may in the future authorize the exclusion of

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 1   additional time periods from the period within which trial must

 2   commence.

 3         IT IS SO ORDERED.

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 5
       DATE                                    HONORABLE OTIS D. WRIGHT II
 6                                             UNITED STATES DISTRICT JUDGE
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 9   Presented by:
10        /s/
      KHALDOUN SHOBAKI
11    Assistant United States Attorney
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